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 Name Amrit Kumar
 Address 601 6th Floor, Rupa Solitare, Millennium Business Park, Plo
                                                                                                  07/28/2024
 City, State, Zip Mahape, Mumbai, Maharashtra-400710, India
                                                                                                       IGU
 Phone 912250972547
 Fax
 E-Mail amritkum@proton.me
 G FPD        G Appointed    G CJA      ✘Pro Per
                                        G            G Retained

                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
MG Premium Ltd
                                                                        CASE NUMBER:

                                                    PLAINTIFF(S),                              2:21-cv-08533-MCS-SPx
                                  v.
Amrit Kumar, Emilie Brunn and Lizette Lundberg
                                                                                          NOTICE OF APPEAL
                                                 DEFENDANT(S).



NOTICE IS HEREBY GIVEN that                                            Amrit Kumar                               hereby appeals to
                                                                  Name of Appellant
the United States Court of Appeals for the Ninth Circuit from:

 Criminal Matter                                                        Civil Matter
 G Conviction only [F.R.Cr.P. 32(j)(1)(A)]                              G Order (specify):
 G Conviction and Sentence
 G Sentence Only (18 U.S.C. 3742)
 G Pursuant to F.R.Cr.P. 32(j)(2)                                       ✘ Judgment (specify):
                                                                        G
 G Interlocutory Appeals                                                    AMENDED JUDGMENT
 G Sentence imposed:
                                                                        G Other (specify):

 G Bail status:



Imposed or Filed on               07/08/2024            . Entered on the docket in this action on 07/08/2024                                 .

A copy of said judgment or order is attached hereto.


7/24/2024                                               /s/ Amrit Kumar
Date                                                    Signature
                                                        ✘ Appellant/ProSe
                                                        G                           G Counsel for Appellant           G Deputy Clerk

Note:     The Notice of Appeal shall contain the names of all parties to the judgment or order and the names and addresses of the
          attorneys for each party. Also, if not electronically filed in a criminal case, the Clerk shall be furnished a sufficient number
          of copies of the Notice of Appeal to permit prompt compliance with the service requirements of FRAP 3(d).



A-2 (01/07)                                                   NOTICE OF APPEAL
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 8                         UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10    MG PREMIUM LTD, a limited               Case No. 2:21-cv-08533-MCS-SP
11    liability company organized under the
      laws of the Republic of Cyprus,         AMENDED JUDGMENT
12
13                      Plaintiff,
14
                  v.
15
      JOHN DOES 4–20, d/b/a
16
      GOODPORN.TO; AMRIT KUMAR,
17    an individual; LIZETTE LUNDBERG,
      an individual; and EMILIE BRUNN,
18
      an individual,
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                        Defendants.
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 1          Pursuant to the Court’s orders, it is ordered, adjudged, and decreed:
 2          1.     Judgment is entered in favor of MG Premium Ltd. and against Amrit
 3   Kumar, Lizette Lundberg, and Emilie Brunn on MG Premium’s claims. Judgment is
 4   entered in favor of MG Premium Ltd. and against Lizette Lundberg and Amrit Kumar
 5   on Lundberg and Kumar’s counterclaims.
 6          2.     MG Premium Ltd. shall recover from Amrit Kumar statutory damages in
 7   the sum of $2,157,000.
 8          3.     Plaintiff MG Premium Ltd. is the owner of all the works identified in
 9   Exhibit A to the First Amended Complaint.
10          4.     Amrit Kumar, Lizette Lundberg, and Emilie Brunn have no rights by virtue
11   of the “Bilateral Agreement” Kumar first identified in his Motion to Dismiss the
12   Complaint and again identified in his Answer to the First Amended Complaint.
13          5.     Amrit Kumar, Lizette Lundberg, and Emilie Brunn shall pay to MG
14   Premium Ltd. attorney’s fees in the sum of $46,740. As prevailing party, MG Premium
15   is entitled to recover its costs of suit.
16          6.     MG Premium Ltd. is entitled to recover postjudgment interest at the rate
17   prescribed by 28 U.S.C. § 1961(a).
18          7.     Defendants and their respective agents, servants, officers, directors,
19   employees, attorneys, privies, representatives, successors and assigns and parent and
20   subsidiary corporation or other related entities, and any or all persons acting in concert
21   or participation with any of them, or under their direction or control, are permanently
22   enjoined from:
23                 a.     Hosting,     linking   to,   distributing,   reproducing,   copying,
24                        downloading, uploading, making available for download, indexing,
25                        displaying, exhibiting, communicating to the public, streaming,
26                        transmitting, or otherwise exploiting or making any use of any of
27                        MG Premium’s copyrighted works, including the Subject Works, or
28                        any portion(s) thereof in any form;
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 1              b.    Enabling, facilitating, permitting, assisting, soliciting, encouraging
 2                    or inducing, whether directly or indirectly, any user or other third
 3                    party (1) to host, link to, distribute, reproduce, copy, download,
 4                    upload, make available for download, index, display, exhibit,
 5                    communicate to the public, stream, transmit, or otherwise exploit or
 6                    make any use of MG Premium’s copyrighted works, including the
 7                    Subject Works, or portion(s) thereof; or (2) to make available any of
 8                    MG Premium’s copyrighted works, including the Subject Works,
 9                    for hosting, linking to, distributing, reproducing, copying,
10                    downloading, uploading, making available for download, indexing,
11                    displaying, exhibiting, communicating to the public, streamlining,
12                    transmitting, or other exploitation or use;
13              c.    Using, operating, maintaining, distributing, or supporting any
14                    computer server, website, software, domain name, email address,
15                    social media account, bank account, or payment processing system
16                    in connection with the hosting, linking to, distributing, reproducing,
17                    copying, downloading, uploading, making available for download,
18                    indexing, displaying, exhibiting, communicating to the public,
19                    streaming, transmitting, or other exploitation or use of any of MG
20                    Premium’s copyrighted works, including the Subject Works;
21              d.    Enabling, facilitating, permitting, assisting, soliciting, encouraging
22                    or inducing, whether directly or indirectly, any user or other third
23                    party to visit any website, including but not limited to any website
24                    operated by Defendants, that hosts, links to, distributes, reproduces,
25                    copies, downloads, uploads, make available for download, indexes,
26                    displays, exhibits, communicates to the public, streams, transmits,
27                    or otherwise exploits or makes any use of MG Premium’s
28                    copyrighted works, including the Subject Works, or portion(s)
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 1                      thereof;
 2                e.    Transferring or performing any function that results in the transfer
 3                      of the registration of Goodporn.to and Goodporn.se (collectively the
 4                      “Goodporn Websites”) to any other registrant or registrar; and
 5                f.    Assisting, aiding or abetting any other person or business entity in
 6                      engaging in or performing any of the activities referred to in this
 7                      Paragraph including infringing upon any of Plaintiff’s copyrighted
 8                      works.
 9         8.     Defendants, their agents, servants, officers, directors, employees,
10   attorneys, privies, representatives, successors and assigns and parent and subsidiary
11   corporations or other related entities, and any or all persons or entity acting in concert
12   or participation with any of them, or under their direction or control, including any
13   internet search engines, web hosting and Internet service providers, domain name
14   registrars, domain name registries and other service or software providers are ordered,
15   within five business days from the service of the Judgment to block or use reasonable
16   efforts to attempt to block access by United States users of the Goodporn Websites by
17   blocking or attempting to block access to all domains, subdomains, URLs, and/or IP
18   addresses that have as its sole or predominant purpose to enable to facilitate access to
19   the Goodporn Websites.
20
21   IT IS SO ORDERED.
22
23    Dated: July 8, 2024
24                                                   MARK C. SCARSI
                                                     UNITED STATES DISTRICT JUDGE
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